Case 1:18-cr-00111-DLF Document 61 Filed 11/08/18 Page 1 of 10

ILED

NUV 08 2ng

k, U.S. District and
UNITED STATES DISTRICT COURT CleBrankruptcy Courts
FOR THE DISTRICT OF COLUMBIA

 

UNITED STATES : CRIMINAL NO.: 18-111-02 (DLF)
v.
JAMAL GRAVES,
Defendant
PROFFER OF EVIDENCE

 

I. THE ELEMENTS OF THE OFFENSE
The essential elements of the offense of Conspiracy to Distribute and Possess with Intent
to Distribute a Detectable Amount of Heroin and Cocaine Base, in violation of 21 United States
Code, § 846, each of which the government must prove beyond a reasonable doubt to sustain a
conviction, are:
l. that an agreement existed between two or more persons to commit the crimes of
Distributing and Possessing with lntent to Distribute a Detectable Amount of
Heroin and Cocaine Base;
2. that the defendant intentionally joined in that illegal agreement; and
3. at the time the defendant joined in the agreement or understanding, he knew the
purpose of the agreement or understanding
See, e. g., United States v. Baugham, 449 F.3d 167, 171-174 (D.C. Cir.), cert. denied, 549 U.S.
966 (2006) (citing factors used in determining whether a conspiracy existed between a buyer and

seller).

Case 1:18-cr-00111-DLF Document 61 Filed 11/08/18 Page 2 of 10

II. FACTUAL BASIS

If this case were to go to trial, the government's evidence would establish beyond a
reasonable doubt that:

In 2014, the F ederal Bureau of Investigation, Washington Field Offlce (hereinafter “FBI”),
Safe Streets Task force began an investigation of individuals believed to be involved in the
distribution of illegal narcotics in the Washington, D.C., metropolitan area. The investigation
determined that defendant Graves distributed illegal narcotics in the Washington, D.C.,
metropolitan area. Multiple individuals conspired with and assisted defendant Graves with the
distribution and possession with intent to distribute heroin and cocaine base. Defendant Graves
was known by his nicknames “Black” and “B.” Co-defendant James Anthony Speaks, Jr.,
regularly supplied large quantities of heroin and cocaine base to defendant Graves and co-
defendant Richardson for redistribution. Co-defendant Leon Bullock also supplied cocaine base
to defendant Graves for redistribution, but in lesser quantities than co-defendant Speaks.
Defendant Graves conspired with and was assisted by co-defendant Sean Richardson during this
narcotics conspiracy to facilitate their distribution of heroin and cocaine base. During the
narcotics conspiracy, defendant Graves and co-defendant Richardson often operated their illegal
narcotics business and distributed heroin and cocaine base in the unit block of Webster Street,
Northeast, Washington, D.C. Defendant Graves also knew that co-defendant Richardson
purchased redistribution quantities of heroin and cocaine base from co-defendant Speaks.

During the investigation, six controlled purchases were conducted by a FBI confidential
source from defendant Graves. For five of those controlled purchases, defendant Graves sold

heroin and a small quantity of cocaine base to the confidential source in exchange for United States

Case 1:18-cr-00111-DLF Document 61 Filed 11/08/18 Page 3 of 10

currency.l All of the controlled purchases were audio and video recorded. On September 9,
2014, defendant Graves sold 0.82 grams of cocaine base and 2.9 grams of heroin in exchange for
$730 in United States currency to the confidential source. On September 16, 2014, defendant
Graves sold 6.6 grams of heroin in exchange for $l,OSO in United States currency to the
confidential source. On September 25, 2014, defendant Graves sold 6.0 grams of heroin in
exchange for $1,200 in United States currency to the confidential source. On November 5 , 2014,
defendant Graves sold 7.2 grams of heroin in exchange for $l,OOO in United States currency to the
confidential source. For all of the controlled purchases, defendant Graves sold 25.6 grams of
heroin and 0.82 grams of cocaine base to the confidential source.

During the course of the investigation, the FBI applied for and obtained court authorization
to intercept wire and electronic communications on two cellular telephones used by defendant
Graves During the wiretap investigation, defendant Graves changed both telephone numbers for
those two cellular telephones During the thirty-day period of interceptions on defendant Graves’
cellular telephones, there were over 9,000 intercepted wire and electronic communications
Defendant Graves and co-defendants Speaks, Richardson and Bullock intentionally spoke in coded
language about their illegal drug trafficking activities to disguise the true nature of their
conversations -the conspiracy to distribute and possess with intent to distribute illegal narcotics

Defendant Graves worked with co-defendant Richardson distributing illegal narcotics
On November 3, 2014, law enforcement conducted a stop and identify of defendant Graves and

co-defendant Richardson, and confirmed their identities Af`ter that occurred, in activation

 

‘ For one controlled purchase, defendant Graves sold 6.7 grams of Monoacetylmorphine to
the confidential source in exchange for $l ,000 in United States currency.

3

Case 1:18-cr-00111-DLF Document 61 Filed 11/08/18 Page 4 of 10

number 413, co-defendant Richardson called defendant Graves During that conversation, co-
defendant Richardson said that he had drugs on him and thought that they were going to be arrested
for conspiracy.

On November 4, 2014, after defendant Graves had been resupplied with illegal narcotics,
in activation number 1671 at approximately 7:10 p.m., co-defendant Richardson called defendant
Graves During that conversation, co-defendant Richardson asked, “You know what I’m talking
about, right?” Defendant Graves said, “Yeah.” Co-defendant Richardson said, “I’m talking
about the up not the down. ls you straight‘? Because I’m about to run out in a minute.”
Defendant Graves replied, “I already hollered at him.” Defendant Richardson said, “Alright.”
During that conversation, co-defendant Richardson said that he was about to run out of cocaine
base (“the up”) and asked defendant Graves whether he still had cocaine base (“ls you straight?”).
Co-defendant Richardson also confirmed that he was not referring to heroin (“not the down”).
Defendant Graves confirmed that he had been supplied with cocaine base (“l already hollered at
him”).

On November 9, 2014, in activation number 3084 at approximately 9:42 a.m., defendant
Graves called a customer named “Kevin.” During that conversation Kevin said, “Hey, Black,
man, l’m working on this shit as fast as l can, man.” Defendant Graves responded, “[I] need
mine. That 4-600 a week, you know how long that is going to be‘? l can’t do that Kevin, man,
you got to tell them peoples you owe a fuckin drug dealer money, slim. You got to do what you
got to do, slim. I can’t take no losses like that, slim. No bullshit. l need that 2,000 at a time.
You taking my kindness for weakness.” Defendant Graves further stated, “You got l0,000.”

During that conversation, defendant Graves was trying to collect on a $10,000 drug debt owed to

Case 1:18-cr-00111-DLF Document 61 Filed 11/08/18 Page 5 of 10

him by one of his narcotics customers Defendant Graves also admitted that he was a drug dealer.

Co-defendant Speaks regularly supplied defendant Graves with heroin and cocaine base
for redistribution. For example, on November 23, 2014, in activation number 9540 at
approximately 9:11 a.m., defendant Graves called co-defendant Speaks and asked, “You got some
soft?” Co-defendant Speaks replied, “Yah.” Defendant Graves said, “Aight, l need, uh, l need
like 200 soft and four of the down.” Co-defendant Speaks responded, “four?” Defendant Graves
said, “You hear me‘?” Co-defendant Speaks then said, “This right here l’m going for cha-ching.
This right though. l aint gonna lie to you. Truth is you get it for fifteen.” Defendant Graves
replied, “Fifteen?” Co-defendant Speaks said, “Yah, you can just give me fourteen-five though
take fifty of .” Defendant Graves replied, “Nah, l’m talking about l got somebody trying like a
user get 200. l was gonna get it for them.” Co-defendant Speaks said, “Oh, oh c’rnon then.”
Defendant Graves stated, “Aight, l be up there.” During that conversation, defendant Graves
called co-defendant Speaks and requested to be supplied with $200 worth of cocaine (“soft”) and
four grams of heroin (“down”). Co-defendant Speaks believed that defendant Graves wanted to
purchase a large quantity of cocaine. Defendant Graves clarified that for that particular time,
defendant Graves was purchasing the cocaine for someone else who only wanted to purchase $200
worth of cocaine (“I got somebody trying like a user get 200”). Co-defendant Speaks agreed to
supply heroin and cocaine to defendant Graves (“Oh, oh c’mon then”). Later that same day, in
activation number 9756 at approximately 2119 p.m., defendant Graves again called co-defendant
Speaks and said, “need two down, a jacket and 200 soft.” During that conversation, defendant
Graves added 3.5 grams of cocaine base (“a jacket”) to his illegal narcotics order that he wanted

to purchase from co-defendant Speaks

Case 1:18-cr-00111-DLF Document 61 Filed 11/08/18 Page 6 of 10

On April 2, 2015, in activation number 357 at 5:09 p.m., defendant Graves sent a text to
co-defendant Speaks that read, “Am ready."` Approximately one minute later, in activation
number 358 at approximately 5: 10 p.m., defendant Graves sent the following text to co-defendant
Speaks: “Got 400now b dne tonight u can drop 10 on me an i got 500 cumin n morning am give u
dat to.” Defendant Graves sent that text to inform co-defendant Speaks that defendant Graves had
$400 to pay to co-defendant Speaks for illegal narcotics, that defendant Graves needed another 10
grams of illegal narcotics, and defendant Graves would have an additional $500 in the morning to
pay to co-defendant Speaks One minute later, in activation number 359 at approximately 5:11
p.m., co-defendant Speaks sent the following text to Jamal Graves: “Cum up da rec.” Co-
defendant Speaks told Graves to meet co-defendant Speaks at a recreation center for the drug
transaction. ln activation number 364 at approximately 5:12 p.m., defendant Graves
acknowledged that he would be there by sending the text, “Soon my ride pull up.” That same
afternoon, in activation number 371 at approximately 5:42 p.m., co-defendant Speaks called
defendant Graves During that conversation, defendant Graves asked co-defendant Speaks
whether he was at the “rec.” Co-defendant Speaks told defendant Graves to call when defendant
Graves was on Quebec, which was a reference to Quebec Street. Co-defendant Graves replied,
"‘I’m out here now, yeah.” Co-defendant Speaks told defendant Graves, “Alright look, go down
pull right there at the store on Otis. I’ll meet you right there at the corner store.” Defendant
Graves agreed to do so. That afternoon, co-defendant Speaks supplied illegal narcotics to
defendant Graves for distribution, and defendant Graves paid $400 to co-defendant Speaks for the

illegal narcotics

Case 1:18-cr-00111-DLF Document 61 Filed 11/08/18 Page 7 of 10

On April 3, 2015, in activation number 562 at approximately12:44 p.m., co-defendant
Speaks called defendant Graves During that conversation defendant Graves stated, “I’m at my
joint waiting for my white man to come up from his joint. He owed me $500 so l am going to
drop that off on you.” Co-defendant Speaks replied, “Got some up.” Defendant Graves asked,
“You got some up?” Co-defendant Speaks responded, “Um, um.” Defendant Graves stated,
“That’s a bet. Soon as this nigger touch down and shit them l’m going to come right up.” Co-
defendant Speaks replied, “Alright.” Defendant Graves informed co-defendant Speaks that when
defendant Graves received the $500, he was going to give that to co-defendant Speaks which would
be applied toward the drug debt that defendant Graves owed co-defendant Speaks. Co-defendant
Speaks informed defendant Graves that co-defendant Speaks had cocaine base to sell (“Got some
up”). Defendant Graves also planned to obtain cocaine base from co-defendant Speaks

Co-defendant Speaks also supplied illegal narcotics to defendant Graves on consignment
As a result, there were times during the narcotics conspiracy when defendant Graves owed a drug
debt to co-defendant Speaks For example, on April 12, 2015, in activation number 2524 at
approximately 10:39 a.m., co-defendant Speaks called defendant Graves During that
conversation, co-defendant Speaks and defendant Graves had a lengthy discussion about how
much money defendant Graves owed co-defendant Speaks for illegal narcotics that had been
supplied on consignment by co-defendant Speaks to defendant Graves. Co-defendant Speaks
stated, “I did the whatchucallum the math fool you hear me . . . say the math look like it was
2470, it was not 2600 l was wrong.” Defendant Graves then asked, “How much you, you take
off 7 right?” Co-defendant Speaks replied it was not 2670 and that co-defendant Speaks was

going to meet with defendant Graves A few minutes later in activation number 2525 at

Case 1:18-cr-00111-DLF Document 61 Filed 11/08/18 Page 8 of 10

approximately 10:49 a.m., defendant Graves sent a text to co-defendant Speaks that read, “its 2370
we at fool arn give u 370 today.” Co-defendant Speaks corrected the amount that he believed
defendant Graves owed as a drug debt, and that it Was $2,470 and not $2,600. Defendant Graves
later sent a text that he believed he only owed $2,3 70 to co-defendant Speaks as a drug debt.

Co-defendant Leon Bullock also supplied defendant Graves with cocaine base, but in lesser
quantities than co-defendant Speaks Defendant Graves was referred to co-defendant Bullock by
a narcotics tester/user after that person complained about the poor quality of defendant Grave’s
cocaine base.

The defendant was arrested on May 9, 2018. The defendant admits and accepts
responsibility for conspiring to distribute and possess with intent to distribute at least 100 grams
but less than 400 grams of heroin, and at least 112 grams but less than 196 grams of cocaine base.
This quantity of illegal narcotics represents the total amount of controlled substances involved in
the defendant’s relevant criminal conduct, including amounts the defendant distributed or
possessed with intent to distribute and amounts distributed or possessed with intent to distribute
by the defendant’s co-conspirators pursuant to jointly undertaken criminal activity that was
reasonably foreseeable by the defendant and within the scope of his conspiratorial agreements or
understanding The defendant knowingly and intentionally conspired with co-defendants James
Anthony Speaks, Jr., Sean Richardson, Leon Bullock and others known and unknown to the
government, to distribute a mixture and substance containing a detectable amount of heroin

cocaine base, and it was not by mistake, accident, or inadvertently.

Case 1:18-cr-00111-DLF Document 61 Filed 11/08/18 Page 9 of 10

Limited Nature of Proffer
This proffer of evidence is not intended to constitute a complete statement of all facts
known by the defendant or the government but is a minimum statement of facts intended to provide
the necessary factual predicate for the guilty plea. The limited purpose of this proffer is to
demonstrate that there exists a sufficient legal basis for the defendant’s plea of guilty.
Respectfully submitted,

JESSIE K. LIU
United States Attomey
D.C. Bar No. 472845

swain faa/w

Karla-Dee Clark

D.C. Bar No. 435-782

Assistant United States Attorney
555 4th Street, N.W., 4th Floor
Washington, DC 20530

(202) 252-7740
Karla-dee.clark@usdoi.gov

Case 1:18-cr-00111-DLF Document 61 Filed 11/08/18 Page 10 of 10

DEFENDANT’S ACKNOWLEDGMENT

l have read this Proffer of Evidence and have discussed it with my attomey, Pleasant
Brodnax, Esquire. l fully understand this Proffer of Evidence. l agree and acknowledge by my
signature that this Proffer of Evidence is true and accurate. 1 do this voluntarily and of my own
free will. No threats have been made to me nor am l under the influence of anything that could
impede my ability to understand this Statement of Offense fully.

Date:[/'/K`\#é M/%(g

J,Knal Graves
Defendant
ATTORNEY’S ACKNOWLEDGMENT

l have read this Proffer of Evidence and have reviewed it with my client Jamal Graves l
concur in my client’s desire to adopt this Proffer of Evidence as true and accurate.

Date: ll_/@ /20[8 PC¢MDM-§ S'Z»°M

Pleasant Brodnax, Esquire
Attorney for the Defendant

 

 

10

